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7    OLD REPUBLIC NATIONAL TITLE INSURANCE
     COMPANY
8

9                              UNITED STATES DISTRICT COURT
10                                      DISTRICT OF NEVADA
11

12
      DEUTSCHE BANK NATIONAL TRUST                Case No.: 3:20-cv-00535-MMD-CLB
      COMPANY, AS INDENTURE TRUSTEE
13
      FOR AMERICAN HOME MORTGAGE                   STIPULATION AND PROPOSED
      INVESTMENT TRUST 2007-1,                     ORDER EXTENDING DEFENDANT
14
                                                   OLD REPUBLIC NATIONAL TITLE
                           Plaintiff,              INSURANCE COMPANY’S TIME TO
15
                                                   RESPOND TO DEUTSCHE BANK’S
                    vs.                            OPPOSTION TO OLD REPUBLIC
16
                                                   NATIONAL TITLE INSURANCE
      OLD REPUBLIC TITLE INSURANCE                 COMPANY’S MOTION TO DISMISS
17
      GROUP, INC., et al.,                         [ECF No. 38]
18
                           Defendants.             (Second Request)
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        STIPULATION AND ORDER TO EXTEND TIME TO RESPOND TO OPPOSITION TO MOTION TO
                                         DISMISS
     593689.1
     Case 3:20-cv-00535-MMD-CLB Document 47 Filed 01/11/21 Page 2 of 4



1               COMES NOW Defendant Old Republic National Title Insurance Company (“Old
2    Republic”) and Plaintiff Deutsche Bank National Trust Company, as Indenture Trustee for
3    American Home Mortgage Investment Trust 2007-1 (“Deutsche Bank”) (collectively, the
4    “Parties”), by and through their counsel of record, hereby stipulate and agree as follows:
5               1. On November 3, 2020, Old Republic filed a Motion to Dismiss [ECF No. 12];
6               2. On December 23, 2020, Deutsche Bank filed its response in opposition to Old
7                  Republic’s motion to dismiss [ECF No. 38];
8               3. On December 29, 2020, the Court granted Old Republic’s request for a brief extension
9                  of time to file the aforementioned reply memorandum, through and including January
10                 13, 2021 [ECF No. 41];
11              4. Old Republic’s deadline to file its reply memorandum responsive to Deutsche Bank’s
12                 opposition to Old Republic’s motion to dismiss is currently January 13, 2021;
13              5. Old Republic’s counsel is requesting a brief extension of time to file the
14                 aforementioned reply memorandum, through and including January 20, 2021, to afford
15                 Old Republic’s counsel additional time to review, analyze, and respond to the legal
16                 arguments set forth in Deutsche Bank’s brief;
17              6. Deutsche Bank does not oppose the requested extension;
18              7. This is the second request for an extension which is made in good faith and not for
19                 purposes of delay;
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        STIPULATION AND ORDER TO EXTEND TIME TO RESPOND TO OPPOSITION TO MOTION TO
                                         DISMISS
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     Case 3:20-cv-00535-MMD-CLB Document 47 Filed 01/11/21 Page 3 of 4



1               IT IS SO STIPULATED that Old Republic’s deadline to respond to Deutsche Bank’s
2    opposition to Old Republic’s motion to dismiss [ECF No. 38] is hereby extended through and
3    including January 20, 2021.
4

5    Dated: January 11, 2021                      EARLY SULLIVAN WRIGHT
                                                   GIZER & McRAE LLP
6
                                                  By:     /s/-- Sophia S. Lau
7                                                        SCOTT E. GIZER
                                                         SOPHIA S. LAU
8                                                        Attorneys for Defendant OLD REPUBLIC
                                                         NATIONAL TITLE INSURANC COMPANY
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10
     Dated: January 11, 2021                      WRIGHT FINLAY & ZAK, LLP
11
                                                  By:     /s/-Lindsay D. Robbins
12
                                                         DARREN T. BRENNER
                                                         LINDSAY D. ROBBINS
13
                                                         Attorneys for Plaintiff DEUTSCHE BANK
                                                         NATIONAL TRUST COMPANY
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     IT IS SO ORDERED:
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     Dated: January 11, 2021                         By:
18                                                         MIRANDA M. DU
                                                           CHIEF UNITED STATES DISTRICT
19                                                         JUDGE
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        STIPULATION AND ORDER TO EXTEND TIME TO RESPOND TO OPPOSITION TO MOTION TO
                                         DISMISS
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2                                        CERTIFICATE OF SERVICE
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4               I hereby certify that on January 11, 2021, I electronically filed the foregoing with the
5    Clerk of the Court using the CM/ECF system which will send notification of such filling to the
6    Electronic Service List for this Case.
7               I declare under penalty of perjury under the laws of the United State of America that the
8    foregoing is true and correct.
9

10

11                                                  /s/ D’Metria Bolden
12                                                   D’METRIA BOLDEN
                                                     An Employee of EARLY SULLIVAN
13
                                                     WRIGHT GIZER & McRAE LLP
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        STIPULATION AND ORDER TO EXTEND TIME TO RESPOND TO OPPOSITION TO MOTION TO
                                         DISMISS
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